645 F.2d 615
    Frank C. LaGRANGE, Jr., Appellant,v.CITY OF MINNEAPOLIS, Ray Eiland, Hugh Gallagher, and GeraldSinger, Appellees.James TUMULTY, Appellant,v.CITY OF MINNEAPOLIS, Ray Eiland, Hugh Gallagher, and GeraldSinger, Appellees.
    Nos. 80-1481, 80-1483.
    United States Court of Appeals,Eighth Circuit.
    Submitted Feb. 9, 1981.Decided April 6, 1981.
    
      David Gronbeck, Minneapolis, Minn., for appellant Frank C. LaGrange, jr.
      Robert J. Alfton, City Atty., and Jerome R. Jallo, Asst. City Atty., Minneapolis, Minn., for appellees.
      Before ROSS, HENLEY and McMILLIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      James Tumulty and Frank C. LaGrange, Jr., appeal an order of the district court dismissing their constitutional claims for relief under 42 U.S.C. § 1983.1
    
    
      2
      Appellants are Assistant City Attorneys "I" for the City of Minneapolis who unsuccessfully sought promotion to Assistant City Attorney "II" positions.  Appellants allege that defects in the promotional exam violated their right to due process and equal protection of the law under the fourteenth amendment.  These defects allegedly violated appellants' protected property interest in a competitive and impartial examination procedure as prescribed under the Minneapolis City Charter and Civil Service Commission rules.
    
    
      3
      The district court found that the procedures and standards for civil service employment did not create a property interest protected under the fourteenth amendment.  The district court decision was based on Vruno v. Schwarzwalder, 600 F.2d 124 (8th Cir. 1979).  In Vruno this court held that a Minnesota statute which granted an applicant for public employment a right to be free from disqualification on the basis of criminal conviction unless the crime related to the job sought did not create a protected liberty or property interest.
    
    
      4
      We have carefully studied the record, including the district court's opinion and the briefs of the parties.  We find no merit to appellants' arguments, and accordingly affirm pursuant to Rule 14 of the Rules of this court on the basis of the district court's opinion.
    
    
      
        1
         The district court also dismissed appellant Tumulty's claims for relief under 42 U.S.C. §§ 1985(3) and 1986.  However, Mr. Tumulty has not argued on appeal that dismissal of those claims constituted error
      
    
    